                   Case 4:19-cv-07123-PJH Document 59-7 Filed 04/29/20 Page 1 of 4



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          12                                 UNITED STATES DISTRICT COURT

          13                             NORTHERN DISTRICT OF CALIFORNIA

          14

          15   WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
               and FACEBOOK, INC., a Delaware
          16   corporation,                                   DECLARATION OF JACOB SOMMER IN
                                                              SUPPORT OF WHATSAPP’S MOTION TO
          17                                                  DISQUALIFY BASED ON PRIOR
                               Plaintiffs,                    REPRESENTATION IN A SEALED MATTER
          18
                     v.
          19                                                  Judge:    Hon. Phyllis J. Hamilton
               NSO GROUP TECHNOLOGIES LIMITED
          20   and Q CYBER TECHNOLOGIES LIMITED,

          21                   Defendants.

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          24                           REDACTED VERSION OF DOCUMENT
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Case 4:19-cv-07123-PJH Document 59-7 Filed 04/29/20 Page 2 of 4
Case 4:19-cv-07123-PJH Document 59-7 Filed 04/29/20 Page 3 of 4
Case 4:19-cv-07123-PJH Document 59-7 Filed 04/29/20 Page 4 of 4
